     Case 4:02-cr-00079 Document 299 Filed on 07/27/06 in TXSD Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                    }
               Plaintiff-Respondent          }
                                             }
v.                                           }       CRIMINAL ACTION NO. H-02-79-2
                                             }       CIVIL ACTION NO. H-04-4617
JESUS FLORES-GUERRERO,                       }
               Defendant-Petitioner          }

                                 MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Jesus Flores-Guerrero’s Motion to Vacate, Set

Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255 (Doc. 281), the United States’ Answer

and Motion to Dismiss (Docs. 283, 284), Petitioner’s Motion for Leave to File a Supplemental Letter

Brief, which is construed as a Motion for Leave to Amend (Doc. 285), and the Magistrate Judge’s

Memorandum and Recommendation Granting Respondent’s Motion to Dismiss and Denying

Movant’s § 2255 Motion to Vacate, Set Aside, or Correct Sentence and Motion for Leave to File

a Supplemental Letter Brief Coram Nobis (Doc. 288).

       After carefully considering the record and the applicable law, the Court DENIES Petitioner’s

Motion for Leave to File a Supplemental Letter Brief Coram Nobis (Doc. 285). The Court

GRANTS the Government’s Motion to Dismiss (Doc. 283), and DENIES Petitioner’s Motion to

Vacate, Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255 (Doc. 281). Accordingly,

this habeas action is DISMISSED WITH PREJUDICE. The Court ADOPTS the Magistrate

Judge’s Memorandum and Recommendation (Doc. 288) in full.

       SIGNED at Houston, Texas, this 27th day of July, 2006.




                                      ______________________________________
                                               MELINDA HARMON
                                        UNITED STATES DISTRICT JUDGE
